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Pro Se I (Rev. 12/16) Complaint for a Civil Case Hand-D eliver ed NC
: NOVZ8 2017
UNITED STATES DISTRICT COURT ni DIET OF ae
for the
District of
Division
) Case No. |. 17-<v-317-MK
. ) (to be filled in by the Clerk's Office)
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Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. ) .
If the names of all the plaintiffs cannot fit in the space above, Jury Trial: (check one) [Aves [] No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
. -v- )
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See ataches )
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )

names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

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Street Address @O-B0K .SDY
City and County x oO
State and Zip Code N.C. 23 243.
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E-mail Address sranquilitvestatesNC@ beoal.cony

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person's job or title (if known). Attach additional pages if needed.

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Defendant No. 1

 

 

 

 

 

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Defendant No. 2

 

 

 

 

 

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Defendant No. 3

 

 

 

 

 

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Defendant No. 2
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Defendant No, 4
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Pro Se I (Rev. 12/16) Complaint for a Civil Case

 

Defendant No. 1!

 

 

 

 

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State and Zip Code NM CC ,Z28 J 3

Telephone Number

 

E-mail Address (f known)

 

Defendant No. 3
Nate
Job or Title (if known)
Street Address
City and County
State and Zip Code
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Defendant No. 4
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Job or Title (if known) :
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
wt Federal question [] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1, The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) ary Zz la Dd tz. , is a citizen of the
State of (name [Joeth Caen | wh

b. If the plaintiff is a corporation

 

The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) ,

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2. The Defendant(s) tog x fteches "

 

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of

 

(foreign nation)

 

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The Defendant is an individual. The Defendant Rebecca Martin is a citizen of the state of North Carolina

The Defendants are individuals. The Defendants Francis and Jeff Tacy are citizens of the state of North
Carolina

The Defendant is an individual. The Defendant Sergio De Sousa is a citizen of the state of Florida.

The Defendant is a corporation. The Defendant Adam Bull is incorporated under the laws of the state of
North Carolina.

The Defendant is an individual. The Defendant Louis Vega is a citizen of the state of North Carolina.
The Defendant is an individual. The Defendant Sabrina Diz is a citizen of the state of Florida.

The Defendant is an individual. The Defendant Kelly Marler is a citizen of the state of North Carolina.
The Defendant is an individual. The Defendant Laramie Collins is a citizen of the state of North Carolina
The Defendant is an individual. The Defendant Britney Shultz is a citizen of the state of North Carolina.

The Defendant is a corporation. The Defendant The Regeneration Station is incorporated under the laws
of the state of North Carolina

The Defendant is a corporation. The Defendant Johnathan McElroy is incorporated under the laws of the
state of North Carolina

The Defendant is a corporation. The Defendant Asheville Police Department is incorporated under the
laws of the state of North Carolina

The Defendant is a corporation. The Defendant Mission Hospital is incorporated under the laws of the
state of North Carolina

The Defendant is a corporation. The Defendant McIntosh law Firm is incorporated under the laws of the
state of North Carolina

The Defendant is an individual. The Defendant is a citizen of the state of North Carolina

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b. If the defendant is a corporation

v “
The defendant, (name) Sse 4) Hy ek , is incorporated under
the laws of the State of (name) , and has its

 

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ;

 

and has its principal place of business in (name)

 

(f more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

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Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

“Ses Peaches -

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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Il. STATEMENT OF CLAIM

The claim against the enterprise is as follow:

Rebecca Martin is the main head of the enterprise as | will proceed to describe, as well as,
Francis and Jeff Tacy, who collectively will be referred to as “The heads of the Enterprise” from
here on.

The goal of the enterprise was to force Plaintiff into forfeiting on her mortgage or taxes, so
Rebecca Martin could foreclose on the property at which time she would sell it to Francis and
Jeff Tacy for the actual value of the property and they could continue to expand their

ownership of land in this area building luxury cabins after evicting all 24 families off Plaintiff's
property, getting rid of trailers and using existing pads for the cabins they planned on building,
plus an additional 10 cabins in the preapproved area on Plaintiff's land as they built their luxury
wedding get-a-way resort. The land was sold to Plaintiff as a scam from the very beginning.

Rebecca martin sold me a piece of land for an amount | could afford while she waited for
Francis Tacy to pass her USDA loan inspections, (as described under Francis Tacy and Jeff Tacy’s
part of Statement of Claim below) and be able to then purchase said property at the regular
price from Mrs. Martin at which time she had every intention of having caused Plaintiff to
forfeit on either a mortgage payment or on property taxes, so Rebecca Martin could get her
property back after taking Plaintiff's deposit, a year’s worth of mortgage and taxes and a year’s
worth of improvements totaling about $250,000 and effectively leaving Plaintiff with nothing.

Francis Tacy was defrauding the USDA as stated in her statement of claim, and once she had
successfully finished defrauded the WSDA, and Mrs. Martin and her conspirators had failed to
force a foreclosure against Plaintiff, Mrs. Tacy became very involved in helping Rebecca Martin
try and bankrupt Plaintiff to lose property, these two women and Mrs. Tacy’s husband, Jeff
Tacy then recruited Plaintiff's ex-husband, Sergio De Sousa into their scam with promises of
money. Their plan was to help Sergio De Sousa embezzle and hide a lot of money from Plaintiff,
get custody of his son and get paid for bankrupting Plaintiff and end up getting child support
above it all. (For a detailed account on Mr. De Sousa’s involvement please see his part of the
Statement of Claim below)

Sergio De Sousa, Laramie Collins, Lou Vega and his girlfriend Katie Korniotes were all working
together, as it is detailed below, with promises of being able to keep the trailer they were living
in, and later they added Stormy Spicer and Greg Norton to the list of conspirators with the
same promise of owning the trailer they were then renting from Plaintiff, they also used
coercion in the case of Stormy Spicer through threats by Kelly Marler from DSS of losing their
child if they did not help.

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It still eludes Plaintiff exactly who Mrs. Marler is working for other than for the benefit of the
enterprise. Plaintiff is sure as evidence is presented it will prove that Mrs. Marler is somehow
connected to Mrs. Martin, and that Mrs. Marler is a “hired gun”, willing to hurt families for
money and for her own sick pleasure.

Mrs. Martin and Francis Tacy were both school teachers, and may have met through that
avenue, but it will be clear by the evidence presented that Mrs. Tacy bought her piece of land
fully expecting to put luxury cabins in place of Plaintiff's trailers by throwing out 25 families
from their homes, and that she expected to add 10 more cabins in the preapproved area, and
that when their tactics to bankrupt Plaintiff did not work, this caused “The Heads of the
Enterprise” to lose millions.

Rebecca Martin lost a couple of million dollars when she could not find a way to foreclose on
Plaintiff as she had planned from the moment she offered the property to Plaintiff through
owner financing.

“The Heads of the enterprise” gave Sergio De Sousa, attorney Adam Bull’s number, and that’s
when the evidence will show the plan to take Plaintiff's son through parental interference to
force Plaintiff to go fight for her son in Florida was put together. This would have caused
Plaintiff to go into bankruptcy especially since Adam Bull and “The Heads of the Enterprise”,
had guided Sergio De Sousa on how to embezzle thousands from Plaintiff prior to moving out of
state, leaving Plaintiff in the brink of bankruptcy already.

Adam Bull after having involved himself with that, unbeknownst to Plaintiff at that time, still
took Plaintiff's case a few months later, as it is described in his part of the statement of claim
below, to cost Plaintiff more money, cause her to lose the property by taking important
documents such as the post-nuptial and prevent her from recovering on the theft of the wood
by keeping evidence against the Regeneration Station, and to prevent Plaintiff from recovering
damages by getting Plaintiff's case against Laramie Collins dismissed.

Plaintiff will show that ‘The Heads of Enterprise” are so very well connected and powerful they
were able to have a nurse at Mission My Care Plus Candler, the Plaintiff's doctor’s office, assist
them by messing with her medications in a negligent and criminal manner, and they were also
able to get a nurse at Mission hospital NICU to commit malpractice and violations of their
licenses to assist them in hurting Plaintiff. Plaintiff cannot prove that these nurses were aware
of the goal of the enterprise only that their motives behind their actions were malicious and for
the purpose of furthering the enterprise’s goals, but Plaintiff hopes that testimony, witnesses
and additional evidence being gathered will make this point clearer at a later time as the trial
develops. Evidence will prove that the acts claimed under their perspective part of the
statements of claims below under Mission did occur, and their purpose will be clear, but who
exactly they were working for, other than the enterprise itself, and why exactly they would
agree to go along with it, is for right now obscured.

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Additionally there are two law firms negligently involved which further proves the amount of
power and connections these “Heads of the Enterprise” have , these could have joined in as a
favor to one of their “buddies” such as Adam Bull, or where doing a favor to one of ‘The Heads
of the enterprise” but evidence will clearly show that these unethical and legal violations were
done to further the enterprise’s goal, one to prevent a loan that could assist Plaintiff to invest
the money and increase her income, and to prevent Plaintiff from being able to get any other
loans to assist her in avoiding bankruptcy and invest money to increase her income by taking
out a judgement that had been previously voluntarily dismissed by these same attorneys and
signed by a judge with prejudice, to stop any ability of Plaintiff to take out a loan to pay
mortgage or taxes, if necessary, while under all the attacks being perpetrated against Plaintiff
by The Heads of the Enterprise” Who exactly they were working for is of little importance at
this time, and will most likely become clearer as evidence and testimony progresses, what is
important is that the evidence will clearly show that laws were broken and Plaintiff’s rights
were violated to further the enterprise’s agenda even without needing to be part of the
enterprise directly.

Additionally, these two lawyers, were not the only lawyers whose malpractice further the
enterprise’s agenda even if unknowingly, and the fact that North Carolina State bar would not
put a stop to these actions, and refused to investigate more than one attorney and clearly
stated to Plaintiff that they don’t answer to anyone, made it more difficult to get to the bottom
of things and figure out what was going on earlier.

Mr. McElroy cost Plaintiff $30,000 with minimal effort and loss to himself. The MacKintosh law
firm, just filed a law suit, that became a judgement and prevented Plaintiff from getting loans,
as did other tactics they used to cause Plaintiff's credit to be undesirable for any loan, through
other conspirators such as an insurance agent, Sergio De Sousa, an illegally acquired writ, bank
fraud, causing Plaintiff to have to continue to close accounts and open new ones which caused
bills to go unpaid, and by cancelling Plaintiff's insurances so that she would have to pay
deposits over and over again, until she became uninsurable.

Although some Defendants listed only committed negligence and/or malpractice, and may have
been unaware of the fact that their actions were being used to further the enterprise’s agenda,
their actions need to be presented in this case so that a pattern of behavior can be proven, and
all dots can be connected, to show how large and injurious this activity by the enterprise was
against Plaintiff. The enterprise used people against Plaintiff even without their knowledge, just
from knowing how those people usually behave, from knowing the system of the area very
well, as Mrs. Martin knows, through defamation of character, and many other tactics, that
helped them manipulate and coerce people into helping the enterprise reach their ultimate
goal.

Therefore, the main enterprise is structured in the following manner:

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THE HEADS OF THE ENTERPRISE: These are the people who created the enterprise for their
benefit and goal.

Rebecca Martin, Francis Tacy and Jeff Tacy, are collectively referred to throughout as “The
heads of the Enterprise” The purpose of the enterprise was to force Plaintiff into forfeiting on
her mortgage and/or taxes, or getting locked up in jail or in a mental institution all for the
purpose of forcing Plaintiff to lose her land.

THE MAIN CONSPIRATORS OF THE ENTERPRISE: These were people who were fully aware of
the purpose and function of the enterprise and were fully invested in the enterprises agenda
for their own benefit as well.

Sergio De Sousa, Sabrina Diz, Laramie Collins, Adam Bull, and Lou Vega were involved in the
enterprise, knowing full well that the goal was for “the head of the enterprise” to acquire
Plaintiff's land, and were given or promised different types of rewards when they helped
achieved the goal of the enterprise.

CONSPIRATORS TO THE ENTERPRISE: These are people who may or may not have known what
the goal and agenda of the enterprise was, but were willing participants in furthering the
enterprise’s agenda for their own gain.

Regeneration Station, two nurses from Mission, and Kelly Marler, who for different reasons
assisted in breaking the law against Plaintiff, with little regard as to why they were being asked
to do the things they were doing because of the gains they were receiving, and assisted the
enterprise whether they knew or not what the ultimate goal was, is at this time unclear, but
they knew they were breaking the law and that they were assisting the enterprise.

NEGLIGENT ASSISTANTS TO THE ENTERPRISE:

Finally, Attorney McElroy, Aaron Low, Asheville Police Department, McIntosh law firm, and
child support, were helpful to the enterprise due to their negligence and/or malpractice
without any direct involvement or understanding of what was happening and why, but because
of the power and social status of “The Heads of the Enterprise”. Unfortunately, the fact that
their lack of ethics could be counted on and used against Plaintiff by the enterprise, and that
their negligence has furthered the enterprise’s goals even if without their direct knowledge into
the enterprise’s agenda, should be addressed and they should be responsible for the damages
they caused, even if their actions were not criminal.

There are unspecified defendants at this time as well.

The enterprise is losing millions in this failed scam against Plaintiff. They have lost a lot of
money in their failed conspiracy against Plaintiff as well, and there is cause to suspect that an
investigation into this as a motive for the murder of Plaintiff’s child should be ordered.

The attacks by this enterprise against Plaintiff have not ceased in the last four and a half years,
and Plaintiff has been unable to find an attorney willing to take on such a large case against

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such powerful rich people, due to this, Plaintiff has felt that she had no choice but to put part of
her property up for sale, which should be appalling to our nation’s way of life, since we pride
ourselves in our freedom, and our ability to pursue happiness, this is a violation of Plaintiff's
basic civil right as an American, but as sad as it is, Plaintiff had to place her property on the
market, and as soon as Plaintiff listed property, Mrs. Martin began to attempt to foreclose on
the property when she saw that she would only get paid the remaining amount she was owed,
and she would be losing millions. (see attached letters)

Plaintiff humbly requests that the court accept this suit as a suit of common law and preserve
Plaintiffs right to a jury trial if necessary.

Evidence will show that Rebecca Martin is guilty of Title 18 chapter 95 1951(b), 1956 through
financial transaction involving the transfer of title of any real property, vehicle ext., through
specified unlawful activity and other Title 18 violations as follows:

Kidnapping, destruction of property

Acts constituting a continuing criminal enterprise

Per section 152 relating to concealment of assets; false oaths and claims; bribery
Section 641 relating to public money, property, or records

Section 657 relating to lending, credit, and misapplication by bank officer or employee
Section 658 relating to mortgaged or pledged to farm credit

Section 1014 relating to fraudulent loans

Section 1201 relating to kidnapping

Section 1708 theft from the mail

Rebecca Martin is in violation of Title 18 1957 Engaging in monetary transactions in property
derived from specified unlawful activity.

1959 violent crimes in aid of racketeering activity

The enterprise and conspirators are involved in RICO crimes as outlines in title 18 chapter 95 s
1961 as follows:

Kidnapping, robbery, bribery, extortion

Section 891-894 relating to extortionate credit transactions
Section1344 relating to financial institution fraud

Section 1503 relating to obstruction of justice

Section 1510 relating to obstruction of criminal investigation

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Section 1511 relating to obstruction of state or local law enforcement
Section 1512 relating to tampering with a witness or victim

Section 1546 relating to fraud and misuse of documents

section 1952 relating to racketeering as outlined earlier.

Rebecca Martin is also in violation of title 18 chapter 95 s 1962 Prohibited activities

The claims against Rebecca Martin are as follows:

Rebecca Martin willfully and knowingly sold Plaintiff a property which she knew to be worth a
lot more than she sold it to Plaintiff for, for the purpose of scamming Plaintiff out of close to
$250,000.

Rebecca Martin then continued to lend Plaintiff money, financing several properties to Plaintiff
without a lender’s license and through abusive lending practices, in hopes that Plaintiff would
owe more per month than she would take in as income. While scamming Plaintiff, Rebecca
Martin attempted to pull the same scam again in a different park, but when she saw that the
scam against Plaintiff was not going according to plan, she decided not to go through with it.
Plaintiff will be presenting evidence that this conspiracy against her, led by Mrs. Martin and Mr.
and Mrs. Tacy has been going on for four and a half years, and that she attempted to do it again
after that to someone else, and Plaintiff believes that further investigation is going to reveal
that she has done this before too.

There is a very good reason to believe that this enterprise will continue against Plaintiff until
the court orders it to stop.

Rebecca Martin chose Plaintiff as a target for the soul reason that Plaintiff is of Hispanic decent
and that this would help her use people against Plaintiff, that this would help her to easily fool
them into thinking that Plaintiff was racist against the local white people when in fact it was
Rebecca Martin that was using Plaintiff's race against her. Plaintiff believes after all evidence is
presented that the court will agree that this has been a hate crime as well.

Rebecca Martin used the fact that Plaintiff was not perfect and had a previous criminal record
against Plaintiff to spread libel and slander about her through her conspirators even though
Plaintiff had been a model citizen since paying her debt to society for her crime, but this one
blemish against her compounded with the fact that Plaintiff was of Hispanic decent helped
Rebecca Martin to use people against Plaintiff, and again this would constitute a hate crime.

Rebecca Martin was a slum landlord while taking tax breaks designed for people helping low
income families. Her financial status and connections have allowed her to leave her tenants in
squalor as evidence will show, while not worrying about consequences.

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Rebecca Martin willfully promised a trailer to a tenant and then proceeded to sell Plaintiff the
property, listing said trailer on the title, so Plaintiff could not sell it to that tenant either, to
manipulate that tenant and to establish a reason for that tenant to want to help Rebecca
Martin force Plaintiff off the property, so that he could then buy the trailer from Rebecca
Martin as had been agreed upon. Further details under the part of the statement of claim for
Lou Vega

Rebecca Martin used tenants that had been with her for many years to start lawsuits against
Plaintiff, one of whom had to wait until her lease was up with Mrs. Martin, a total of 5 months,
before they could start a lawsuit against Plaintiff. This tenant, Britney Shultz did so 14 days into
the new lease with Plaintiff, even though she had lived under Rebecca Martin’s ownership for
two years, and had to use lies because by then Plaintiff had already fixed all the things Mrs.
Martin and tenants were planning on using for the lawsuit. Further details below under the part
for the statement of claim for Britney Shultz

Rebecca Martin guided these tenants into how to abuse the system against Plaintiff by letting
them know how to manipulate Pisgah legal services’ lawyers into helping them. Details
contained under the part of the statement of claim for Laramie Collins as well. This was done to
set it up to look like Plaintiff was being attacked by lawyers when in reality it was her behind
the scenes from the very beginning.

Rebecca Martin and other “Heads of the enterprise” caused and/or made to be caused
property damage on Plaintiff’s property to Plaintiff's personal well, killing and poisoning
animals, causing damage to the community well, destroying tools, stealing work vehicle,
destroying trailers, stealing money and tools, stealing wormy chestnut wood. Details below
under the part of the statement of claim for the regeneration station and others.

Rebecca Martin and other “heads of the enterprise” caused and/or made to be caused abuse
and harassment against Plaintiff through malicious abuse of civil process. Plaintiff awaits
certified copies of files from Buncombe County courthouse for 25 cases filed against her by only
five people all connected to Rebecca Martin and Franny’s farm owners, Mr. and Mrs. Tacy.

Rebecca Martin and other “heads of the enterprise” caused and/or made to be caused a
traumatic experience to a child, evidence tampering, contempt, perjury and fraud involving a
minor child. Covered in detail under the forceful removal of Plaintiff's child from the safety of
her home by Sabrina Diz in the part of the statement of claim for Sabrina Diz below.

Rebecca Martin and other “heads of the enterprise” caused and/or made to be caused the
endangerment of a child, and Plaintiff’s illegal detainment. Details under the statement of claim
against Sabrina Diz, and the malicious abuse of the involuntary commitment order.

Rebecca Martin guided Laramie Collins on how to cause damage to the well and damage was
caused on two separate occasions.

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Rebecca Martin acting as Plaintiff’s mentor and claiming to be a good Christian referred Plaintiff
to people she could later ask to hurt Plaintiff, such as insurance agent, tenants and others.

Rebecca Martin was committing Tax Fraud, the evidence will reveal that this is not the only
property in which she is perpetrating this violation.

Rebecca Martin and other “heads of the enterprise” caused or/and made to be caused
malpractice by attorneys against Plaintiff.

Rebecca Martin and other “heads of the enterprise” caused and/or made to be caused an
obstruction of justice in the investigation of Plaintiffs daughter’s murder, in the kidnapping of
Plaintiff's son, and the fraudulent removal of Plaintiff's foster son Elijah Davis

Plaintiff is not an attorney. Plaintiff is moving forwards doing the best she can pro se and alone
with a major case like this one. Plaintiff has attempted to read as much as she could prior to
filing this case but she needs to move forwards right away due to the relentless severity and
intensity of these attacks. Plaintiff needs the court to help her put a stop to these relentless
attacks, and in an attempt at justice Plaintiff is listing all the laws that she can easily tell have
been broken against her, but she understands that without a law degree, she may be missing
some and, so she respectfully requests that if she is missing any, that Your Honor add them as
needed, or allow her to amend as necessary.

Evidence will show that Rebecca Martin is guilty of Title 18 chapter 95 1951(b), 1956 through
financial transaction involving the transfer of title of any real property, vehicle ext., through
specified unlawful activity.

FRANCIS TACY AND JEFF TACY

Francis Tacy and Jeff Tacy are collectively referred to as “the heads of the enterprise” with
Rebecca Martin throughout this complaint.

Since the enterprise’s goal was to acquire the property sold to Plaintiff as a scam by Rebecca
Martin for the purpose of allowing Rebecca Martin to sell it to Francis and Jeff Tacy for the
actual price of the land as had been prearranged before it was sold to Plaintiff. Once Rebecca
Martin acquired the property back through illegal, violent and intimidation tactics, and sold it to
Mr. and Mrs. Tacy, they in turn planned on throwing out all 25 families on the street so they
could expand their planned luxury wedding resort into Plaintiff's adjacent property to build
luxury cabins on the already set up pads and on the area, that has already been preapproved
for another 10 trailers or cabins. All their efforts, whether they shared every detailed of their
activities with each other or not constitute an enterprise as described in title 18 Racketeering
and RICO chapters, and since the agenda of the enterprise was to fulfill their ultimate goal

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collectively of acquiring Plaintiff's land, this means that calling Rebecca Martin, Mr. and Mrs.
Tacy “the heads of the enterprise” covers the fact that all other codefendants no matter how
involved or knowledgeable they were of the activities of the above named “heads of the
enterprise” were in fact working in one way or another to further their goal as “the heads of
the enterprise” collectively.

The reason that Mr. and Mrs. Tacy could not purchase both sides at one time was because they
were defrauding the USDA to get government funds to purchase the side they did purchase and
had to wait over a year to pass inspections and fool the inspectors into thinking that they were
building a barn and that they were becoming sheep farmers before they could purchase a huge
track of land with a trailer park on it, so as one of the head of the enterprise Rebecca Martin
had to wait for them to finish doing that, she decided to scam the Plaintiff out of the deposit
money, a year’s worth of mortgage and taxes and improvements.

Evidence will show they took out a USDA Ioan through Fraud in violation of Federal law
protecting Federal money.

Evidence will show that they conspired with others in the attempts at destroying Plaintiff's life
and reputation at any cost, to acquire Plaintiff's property.

Evidence will show that they continued to defraud the USDA and when they could not get
Plaintiff's side as had been the plan within a year, they had to change their USDA guidelines to
state that they were now raising turkeys, that they have the facilities to house, kill and
refrigerate the 1000 turkeys they claim to be raising and killing per month, which is not true.

Evidence will show they have paid and bribed their way into this loan and other Racketeering
and RICO activities.

Evidence will show that Sergio De Sousa was working with Mr. and Mrs. Tacy directly to help
further the enterprise’s agenda for a very long time, even prior to purchase.

Evidence will show that they attempted to kill Plaintiff by running her off the road.

Evidence will show that Mrs. Tacy has perjured herself while maliciously abusing the civil
process to further her agenda against Plaintiff.

Evidence will show that the heads of the enterprise paid Sergio De Sousa’s lawyer’s fees for
more than 2 years to use him and his divorce to Plaintiff as a means of taking Plaintiff's
property, and/or child to derail Plaintiff, cost her money or take her property from her.

Evidence will show that the main co-defendants who were fully aware of the enterprise’s
agenda and were working directly with the three “heads of the enterprise” Rebecca Martin,
Francis Tacy and Jeff Tacy are:

Sergio De Sousa
Adam Bull

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Lou Vega
Sabrina Diz
Kelly Marler
Laramie Collins

Other codefendants listed in this complaint helped further the enterprise’s agenda through
negligence of their prospective positions, either malpractice or through intimidation from “the
heads of the enterprise”, and they must be listed in the complaint to show the power,
connection and control that these “heads of the enterprise” have collectively and how they
have exercised that power against Plaintiff through these people for the purpose of furthering
their own agenda.

Evidence will show that Mr. and Mrs. Tacy use their teenage boy to get access to teenagers
they can then use to build things around their farm for free by later allowing them to party on
the grounds with no adult supervision and with alcohol. These teenagers are willing to do just
about anything for Mrs. Tacy and her son,

Evidence will show that they no longer even live there, that they have in their possession
advanced technology for distillery and according to Mrs. Tacy that they sell their moonshine at
their parties.

Francis Tacy and Jeff Tacy by their own statements are dangerous people who own guns and
use violence and intimidation to further their agendas.

Laramie Collins

Please refer to the timeline of events attached for a detail chronologic description of events,
the following statement of claim for Laramie Collins is a summarization of what occurred.

It was very clear that Laramie Collins and her co-conspirators were being guided by an expert in
landlord/tenant laws and on how to cause property damage on my property, specifically
damage that would give them a reason to sue over.

“The heads of the enterprise” were working together with Sergio De Sousa to make it seem like
the lawyers were assisting them on how to fabricate evidence against me to use to sue over,
and Mrs. Martin, who at this time was like a mentor to Plaintiff was reinforcing this belief as
was Plaintiff’s then live in husband, Sergio De Sousa, this was done to use it against Plaintiff
later by calling her crazy, and to hide their involvement by making it seem like the actions of
someone else.

Since Sergio De Sousa was working with Laramie Collins and the “heads of the enterprise, he
was giving them information that only him, Plaintiff and her lawyer would have, and when this

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confidential information would be very clearly passed on to Laramie Collins or other opposing
Plaintiff, it would seem to Plaintiff that her lawyer had released that information, when in fact it
had been Sergio De Sousa passing said information. This was being done before Plaintiff
realized that Sergio De Sousa was involved in the enterprise from the very beginning as
evidence will clearly show. This was the plan from the very beginning, to use Plaintiffs husband
and tenant to spread lies about Plaintiff's character, and to make her think that she had
encountered some huge conspiracy, to intimidate her into giving up and make her sound
unstable, except Plaintiff had evidence, and once people spoke to Plaintiff they could see that
she was not what they were making her out to be, and this began to make their plan fall apart.

Laramie Collins made it clear that she was working with Sergio De Sousa while she defended
herself in small claims court once her attorney Tom Gallagher had figured out what they were
doing and refused to continue to represent her, after Plaintiff's daughter’s murder, in January
2016.

Laramie Collins was working with lindia Pearson in the conspiracy to set Plaintiff up against the
lawyers, while trying to bankrupt her through frivolous and abusive lawsuits, property damage
and fabrication of evidence.

Laramie Collins caused damage to the community well twice on purpose, maliciously the first
time to force Plaintiff to shut of her water off to get water to the remaining tenants connected
to that well, this was done because Rebecca Martin, knowing exactly how the property works,
having been the owner of the property and the landlord at Plaintiff's property for 9 years prior
to selling it to Plaintiff, she knew that there would be no other way to restore water to
remaining tenants, and then sending Laramie Collins to Tom Gallagher of Pisgah legal services
lying and saying that the water was shut off to forcibly evict her, which then would cause yet
another lawsuit against Landlord, and this time they would be able to sue for the cost of the
trailer.

The second time, Laramie Collins caused damage of $2500 to the well was while Sabrina Diz had
Plaintiff locked up in an illegally acquired IVC through perjury, while she was kidnapping
Plaintiff's son.

It is clear that she was told how to cause well damage by someone who had inside
understanding of how the wells on the property worked and not from her own knowledge
because she did not know, and was not told that doing this would fill her septic tank with clear
water and that she would not be able to request it fixed because this would prove she had been
running her water to purposely cause the well damage effectively damaging her ability to live in
her trailer because all her sinks and tubs would be backing up, and her toilet would not flush
anymore, and her washer would not work properly, the fact that she knew exactly how to
damage well and what that would cause me to do in turn that she could then turn around and
sue me for, is a lot more complicated and complex of a process, requiring much more detailed
and knowledge than the mere fact that she did not know all that water had to go somewhere.

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Once this happened and she found out that she could not have Plaintiff bring someone to fix it
she was forced to defecate in her tubs. There are pictures that document the inhabitable
condition of the trailer when they left and the use of their tubs as toilets that never drained,
filled with urine infested water with fecal matter floating, and fecal matter splattered on the
walls and painted across them with their hands. It took two years to get these people off her
property even at this level of contempt for any type of civilized behavior and even though
Plaintiff never allowed them to move in or got any money from them, or ever wrote a lease
with them. They were breaking the law just by moving in. (please see attached documents for
detailed account of events. Plaintiff is awaiting the certified file attached to this case but there
are 10 cases associated with Laramie Collins through Buncombe County courthouse, as they
with Rebecca Martin’s help manipulated and abused the lawyers and the system)

Laramie Collins was trespassing and the owner of the trailer, her aunt, who sold the trailer to
lindia Pearson’s brother and Mrs. Collins live in boyfriend was in violation of landlord-tenant
jaws and committing a misdemeanor under North Carolina law.

Laramie Collins was involved in this conspiracy against Plaintiff from the very beginning,
working with Sergio De Sousa, as outlined in Title 18 racketeering and RICO crimes

Laramie Collins abused the judicial system and used it to harass and hurt Plaintiff for the
purpose of advancing the enterprise’s agenda.

Laramie Collins conspired against Plaintiff with other enterprise members for the purpose of
advancing the enterprise’s agenda

Laramie Collins stole thousands of dollars from Plaintiff through rents never paid, property
damage lawyers’ fees and lawsuits.

BRITNEY SHULTZ

Britney Shultz had been a tenant of the previous owner, Rebecca Martin for two years prior to
Plaintiff purchasing the property from her through owner financing.

When Plaintiff purchased this tenant had a 6 month lease that Plaintiff honored per the
tenant/landlord laws in the state of NC.

Because of this this tenant had to wait until her lease was up with the head of the enterprise
Rebecca Martin before she could begin suing Plaintiff for repairs that she had been living with
all along under the previous owner. As soon as Plaintiff's new lease began with Mrs. Shultz
almost 6 months after purchase they began lawsuits and other tactics, they were being guided
to do against Plaintiff to cause Plaintiff money, trouble and be able to sue Plaintiff as had been
previously arranged with Rebecca Martin prior to purchase by Plaintiff. These tactics included,

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but where not limited to calling the Sheriff’s office for an inspector to come out, complaining
about things that were not broken and breaking the hvac.

By the time that these tenants were able to call inspector on Plaintiff under the new lease. She
had already repaired major issues they had on her own initiative.

By this time Plaintiff, with the help of a local Buncombe county inspector’s advice and guidance,
she had brought the entire park up to code and by the time they were able to call Sheriff there
were only minor infractions found, which Plaintiff fixed within the time allowed.

While they were suing and calling in inspectors they were also not allowing the contractors to
come in to say that Plaintiff was not fixing in a timely manner. Plaintiff had contractors
document all this.

Britney Shultz committed fraud on the lease to attempt to get more money from the security
deposit that was held by Plaintiff than what she had actually payed.

Britney Shultz was shopping lawyers to be able to further the goal of the enterprise, not only to
cost Plaintiff money, but to make the lawyers look bad to Plaintiff and cause a problem
between Plaintiff and lawyers.

Britney Shultz was helping the enterprise by libeling Plaintiff on public sites and prevent
Plaintiffs business from getting other renters in place of the renters that were being asked to
leave, due to the fact, that the park was a meth haven prior to Plaintiff purchasing it, with a
meth dealer and prostitutes allowed to remain on the property without electricity and under
the squalor conditions that all tenants were living in while Rebecca Martin owned it and
received tax credits for keeping her rents low, supposedly helping low income families.

Britney Shultz under the guidance of Rebecca Martin maliciously abused the civil process for
her own benefit and the benefit of the enterprise.

Please see attached case file for Britney Shultz. Plaintiff is presently awaiting the certified case
file from the courthouse.

This case was used to deprive Plaintiff of her legal right to a trial and push the small claims
order through until it became a writ, through the abuse of legal process, and be able to take
money directly out of Plaintiff's account right before tax time hoping to force Plaintiff to forfeit
on her taxes by bouncing her bank account, and while they were stealing money from Plaintiff
through other avenues, and conspirators, such as Stormy Spicer and Sergio De Sousa.

Britney Shultz perjured herself in court for the purpose of advancing the enterprise’s goals.

THE REGENERATION STATION

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The Regeneration Station became part of this conspiracy because they saw an opportunity to
benefit from what the enterprise was doing to Plaintiff.

They became aware of this opportunity to steal Plaintiffs wormy chestnut wood through “the
heads of the enterprise”. They were notified that Plaintiff was selling her wormy chestnut wood
in the dilapidated barn located on her property, and because the enterprise’s goal was to
bankrupt Plaintiff by blocking any possible income and costing her money to force her to miss
mortgage payments, they could not allow Plaintiff to make the money that selling the wood
inside that barn was going to make her which was close to $15,000.

“The heads of the enterprise” then notified the owner of Regeneration Station to come take
the wood and not pay Plaintiff for it, and to destroy the materials left so Plaintiff could not use
them to build and save money in the future construction.

Per their own evaluation, Regeneration Station drove away with more than $12,500 in wormy
chestnut wood, they stole an additional $2500 and caused thousands of dollars in damage to
materials that were supposed to be transported from the location of the barn, at the bottom of
the mountain, to the top of the mountain where Plaintiff's personal home is located.

They promised an island priced at over $5000 made of wormy chestnut wood taken from the
barn that they never delivered on.

They breached their contract with Plaintiff. They misrepresented themselves and lied about
what they were doing.

They priced the wood, so it is very possible that even the estimate is off. They drove off with a
pick-up truck bed full to the top of wormy chestnut wood, and never paid for it.

They committed fraud and became part of the conspiracy against Plaintiff, by agreeing to do
this even if they were unaware of the Enterprise’s goal and agenda, he was aware that Plaintiff
would not be able to get justice against him because of the issues the enterprise was causing
between Plaintiff and local lawyers, and therefore, he would not pay any consequences for
stealing from Plaintiff.

The Regeneration Station additionally caused thousands of dollars in the cost of rectifying the
damage they caused.

Regeneration station priced the wormy chestnut wood taken to be valued at $12,500, they
stated that bringing the 53 by 53 barn up to the top of the mountain after taking it apart piece
by piece to save the materials to be reused prior to the transport would cost about that much,
but that Plaintiff would be short $5000, that would have to be paid to the guys coming to take
barn apart and transported piece by piece from the bottom of the mountain to the top of the
mountain.

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The contract stated that additionally to the $12,500 that The Regeneration Station where
paying these men to move and save remaining materials, Plaintiff would have to pay them
$2500 when they got there and $2500 more when it was done.

Regeneration Station then came and took a truck load of wormy chestnut wood, and sent for
the guys to take apart barn, who then began to demolish barn, and when stopped from
destroying the barn any further and asked what they were doing, their response was that they
had not been paid anything at all by the regeneration station, and that they were told to come
demolish the barn and the entire demolish cost was the $5000 Plaintiff was paying.

So, Plaintiff never got paid for the wood, Plaintiff spent an additional $2500 to lose half the
materials left, and when Plaintiff called Regeneration Station to ask for her money, he refused
to give her the money or the island that he had sent her pictures of already, that was supposed
to make up for the additional $5000, Plaintiff was paying to bring the material of the barn in
good condition to the top of the mountain.

The Regeneration station pocketed all the money, stole the wood from Plaintiff's property,
breached the contract, sent a demolition crew instead of the agreed upon crew, costing
Plaintiff additional money, destroying materials effectively furthering the enterprises agenda,
and lining his own pockets.

MCELROY

This attorney at the day of settlement allowed the closing of the loan to fall apart on purpose and lost
Plaintiff the private investor she had been working with for over a year to get the $30,000 business loan
she was ready to receive that day.

It was later clear by the proponderous of the evidence that Sergio De Sousa had told “the heads of the
enterprise” and they had requested that he do this to prevent Plaintiff from getting any money which
was one of the main reasons for the enterprise, to further the enterprise’s agenda and bankrupt Plaintiff
for the purpose of getting my property back, but also to begin to set it up to look like Plaintiff was up
against some kind of organized crime by attorneys, and not realize that this was all over the actual value
of the property she had bought and the fact that it had been sold to her as a scam and that the people
who had been promised the property after the Plaintiff was forced to lose it were now ready to take
over.

Please see NCSB complaint, attached, this complaint was put together in real time and before Plaintiff
realized that there was an ultimate goal behind all that was going on.

SERGIO DE SOUSA

Sergio De Sousa was a main integral part of the enterprise as defined in title 18 Racketeering and RICO
chapters.

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Sergio De Sousa was sabotaging the business while fiving with Plaintiff as her husband and father of her
child to help the enterprise to achieve their goal.

Sergio De Sousa was giving “the heads of the enterprise” inside information and helping to mislead
Plaintiff so that she would not realize who it was that was leading the enterprise and why.

Sergio De Sousa was giving “the heads of the enterprise” information they could use to destroy Plaintiff,
personal information about Plaintiff's life, her family and her children, so they could use this information
to steal her property and prevent her from finding out that said property was actually worth over 2.5
million dollars, and not the $609,000 she had actually paid for it.

It is clear by the evidence that the reason the enterprise did not kill Plaintiff and instead they paid to
have her daughter murdered, was because an investigation into Plaintiffs murder would have included
investigating her then husband and that would have led them straight back to the enterprise. So,
instead, they used the private family information Sergio De Sousa was giving them to choose the
daughter, time and cause of her murder, to keep pointing Plaintiff in the directions of lawyers, since her
child had just been sent to see lawyers at the same Pisgah Legal services they had been working very
hard to make look corrupt to Plaintiff.

Sergio De Sousa conspired to kidnap his son, knowingly put his son and Plaintiffs daughters in harm’s
way by taking them to Franny’s farm owned by two of “the heads of the enterprise”, even though he
was assisting them on how to destroy Plaintiff and he was aware of the fact that they were dangerous
and had an agenda against Plaintiff.

Sergio De Sousa was involved in the conspiracy to murder Plaintiff's daughter and subsequent cover up
of that murder by misleading the investigation by detectives of Asheville Police Department with the
help of his lover and Plaintiffs sister Sabrina Diz.

Sergio De Sousa conspired in the attempted murder of Plaintiff with Lou Vega, Sabrina Diz and others,
through the introduction of drugs for the purpose of causing Plaintiff to use said drugs and lose
everything, and later the attempted dozing of Plaintiff with methamphetamines by Sabrina Diz’s ex-
girlfriend and Sergio De Sousa’s friend.

Sergio De Sousa embezzled more than $60,000 from the business for the purpose of stealing the money
and assisting the enterprise to reach its goal of bankrupting Plaintiff, taking child from Plaintiff so he
could get child support and force Plaintiff to go fight for son in Florida

Sergio De Sousa stole property that belonged to Plaintiff's business

Sergio De Sousa working with Adam Bull committed fraud from court house to court house to make it
look like Plaintiff's active custody order had been dismissed so he could take the child

Sergio De Sousa working with Sabrina Diz got rid of evidence of child pornography that Plaintiff and
Plaintiff's daughter who was murdered had found on his computer and phone

Sergio De Sousa working with Adam Bull got evidence taken out of the South Carolina lawyer’s file, so it
could not be used against him in the family court in NC.

Sergio De Sousa kidnapped Plaintiff's son in violation of a custody order that did not even give him
overnight visitations due to neglect and the fact that he was considered a flight risk.

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Sergio De Sousa is a permanent resident only because he manipulated and used Plaintiff to get his
papers for him and has since been using Plaintiff to steal money from her to send back to his country
and to keep for himself.

Sergio De Sousa is violent and has committed many acts of domestic violence against Plaintiff

Sergio De Sousa is in violation of Title 18 chapter 7 section 117, by maliciously and purposely not paying
child support for over a year to further the agenda of the enterprise he is a part of.

Sergio De Sousa kept child from mother by forcing child to lie about his whereabouts through
intimidation of the child and by not letting child speak to mother unless he did as he was told.

Sergio De Sousa put his own child in danger for his own benefit and the benefit of the enterprise
Sergio De Sousa conspired with Laramie Collins, during Laramie Collin’s malicious abuse of legal process.

Sergio De Sousa has been conspiring with “the heads of the enterprise” to pay his attorney's fees for
family court while continuing to attempt to bankrupt Plaintiff, force her to forfeit on her mortgage
and/or on her taxes and intimidate and threaten her into leaving her property, or get an order giving
him half and force her to sell.

Sergio De Sousa has perjured himself for the purpose of covering his actions and covering for “the heads
of the enterprise” and further their agenda.

Sergio De Sousa committed child abuse when he put his child in danger to further his own agenda and
that of the enterprise’s.

Sergio De Sousa and/or Sabrina Diz attempted to doze Plaintiff with methamphetamines.

Sergio De Sousa destroyed property belonging to Plaintiff's business to cause her to not be able to run
business properly trying to bankrupt her, and to cost her money.

ADAM BULL

Please see attached NCSB complaint against Adam Bull for more detailed information, and other
violations aside from those that will be outlined here.

Adam Bull got rid of evidence from attorney’s offices, from Plaintiffs court files, and attempted to get

rid of documents he received from Plaintiff for her defense, while he misrepresented himself as her
attorney, and neglected to let her know he was in a conflict of interest with her then husband, since he
had already been working with him, guiding him on how to embezzle the money out of her accounts,
hiding damaging evidence for him and assisting him on the plan to kidnap his son.

He would have cost Plaintiff to lose everything if she had given him originals of her post-nuptial, and of
her documents against the Regeneration Station, when he refused to return them to further the
enterprise’s agenda.

He purposely and maliciously worked against Plaintiff while misrepresenting himself as her attorney,
and caused her the loss of thousands of dollars against Laramie Collins, and the case against her.

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Adam Bull also while conspiring with Sergio De Sousa and the “heads of the enterprise” worked against
Plaintiff to continue to make Plaintiff think that “lawyers” were working together to do this to Plaintiff,
and point fingers at a grand conspiracy involving Tom Gallagher and Pisgah legal services, the
courthouses and DSS, by committing fraud in her court file in Maryland to make it seem like she had no
active custody case so that Sergio could take her son, force her to go fight for him in Florida effectively
causing her lose her property and make her sound crazy when she fell for their tricks and began accusing
lawyers of a grand conspiracy.

Adam Bull working as Plaintiff's attorney contacted previous lawyers with damaging evidence against
Sergio De Sousa and requested them to get rid of evidence.

He left Plaintiff without representation on purpose after he purposely went 9 weeks without getting a
signature from a superior court judge for the Plaintiff, that ordered Plaintiff's case back into small claims
court, where Plaintiff could have defended herself, so she would be forced to appear in district court,
where Plaintiff would be obligated to be represented by an attorney he could then force a dismissal of
her case by illegally withdrawing as her attorney on the day of court.

He committed many ethical violations, malpractice, negligence and criminal negligence as outlined in
the Racketeering and Rico chapters of title 18, as a coconspirator of the enterprise and for the benefit
and gain of the enterprise and its agenda.

Please see North Carolina State Bar complaint for details, this complaint was written in real time and
prior to Plaintiff figuring out why it was happening. Plaintiff is awaiting the certified files from Buncombe
County courthouse, there are voicemails and transcripts that will further prove these claims.

He was involved in the set up and planning of the kidnapping of Plaintiffs son with Sergio De Sousa.

Adam Bull joined and helped the enterprise to make it look like Plaintiff was up against lawyers, to
mislead her away from the actual perpetrators and true reason for the enterprise.

Adam Bull committed fraud of legal documents and across state lines by adding a fraudulent dismissal of
Plaintiff's active custody case to her Maryland file to make it look like there was no active custody order.
He used a fraudulent Judge’s signature.

Adam Bull caused or made to be caused evidence in Plaintiffs South Carolina court file and lawyer's
records against Sergio De Sousa to be removed from said files for the purpose of assisting Sergio De
Sousa to take her child against a court order, to force her to go fight for her child out of state, tampering
with evidence that proved Sergio De Sousa was a degenerate and a child pornographer.

Adam Bull kept thousands of dollars for 17 days of representation in which he purposely, maliciously
and for the purpose of defrauding Plaintiff as a member and for the purpose of assisting the enterprise
in bankrupting Plaintiff.

Adam Bull attempted to intimidate Plaintiff and extort her to force her to sign a release of liability by
withholding the $2500 he later had no choice but to return, emails between himself and Plaintiff, as well
as, the courthouse will show that he attempted to lie and blame the courthouse for his actions, again
attempting to make it seem like Plaintiff had come across some major conspiracy that involved lawyers
and the courthouse.

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Adam Bull assisted the enterprise to achieve his own goal of using Plaintiff to attack Pisgah legal services
by making it look like he was also working with them, and making it seem like they were working with
him in a bigger corruption which had been getting set up by Sergio De Sousa, Laramie Collins and “the
heads of the enterprise” for the purpose of misguiding Plaintiff and making her sound crazy as well as
tainting the Pisgah legal services reputation for his own pleasure and benefit. As you can see by his own
statements in the emails between himself and Plaintiff, he has a personal vendetta against Pisgah legal
services and was using the laid out frame work “the heads of the enterprise” were working on, trying to
make Plaintiff go after the wrong people for all the things they were doing to her through their
manipulation of Pisgah legal Services attorney, who was being manipulated by this enterprise to think
that Plaintiff was a bad landlord and were lying and fabricating damages themselves and blaming it on
Plaintiff, meanwhile making it seem to Plaintiff that their lawyer was the perpetrator, when in reality it
was “the heads of the enterprise” conspiring to set this up, as evidence will prove.

Adam Bull caused or made to be caused the disappearance of the registration of the foreign order of
Plaintiff's child support and custody from the Buncombe county courthouse file, so that she could not
get her child support from Sergio De Sousa.

ASHEVILLE POLICE DEPARTMENT

Asheville Police Department was negligent in their investigation of Plaintiff's daughter’s murder due to
the fact that they refused to investigate “the heads of the enterprise” due to their connections, social
status and power in this town.

Asheville police Department only investigated the murder of Plaintiff's daughter for only 10 days, 7 of
which the girls were missing, and only for three additional days after their bodies were found.

Asheville Police Department allowed conspirators of the enterprise, such as lindia Pearson, who
connects to the enterprise through Rebecca Martin and Laramie Collins to make a statement that they
then relied their entire case upon, effectively allowing “the heads of the enterprise” and their
conspirators to mislead and misguide the investigation away from themselves.

Asheville Police Department helped conspirators through negligence to kidnap Plaintiff's son while her
other child was missing, and to convince them of the fact that Plaintiff was crazy and on drugs
effectively making sure that they did not follow the leads Plaintiff was acquiring for them, of other
witnesses who could have pointed Asheville Police Department into another direction which would have
ultimately led back to the enterprise.

Asheville Potice Department did not involve the FBI, even though the girls were missing for over 7 days,
even though the person they accused of the murder fled the state during the chase from police, was
shot by South Carolina State troopers near Spartanburg SC, when the chase began in NC, and even
though when he was detained he had the murder weapon of the one person he did kill, and his vehicle
which he had acquired during the commission of a felony in NC before being chased into South Carolina,
and even though the families were lied to and told that FBI was indeed on the case from the very
beginning but they were not.

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Asheville Police Department’s neglect in this investigation has led to the conviction of an innocent
person, and no justice for Plaintiff and her child, and due to their inaction and negligence in investigating
what was really going on, it led to the traumatization of Plaintiff's son, the assistance in the kidnapping
of said son by his father against an active and established court order, the involuntary and illegal
imprisonment of Plaintiff and violation of her rights as a victim and allowed the conspirators access to
her bank, her property and her daughter’s belongings while these events against Plaintiff took place,

and she was held without cause and against her will.

Knowingly or unknowingly they assisted the enterprise to further their agenda against Plaintiff, were
fooled and allowed themselves to be fooled on the actual accounts surrounding the murder of Plaintiff's
child by taking at face value the statements of the conspirators of the enterprise and ignoring witnesses
that did not fit their theory of the crime, which was staged to frame the accused on purpose to connect
the girls to drugs and a drug dealer through him.

Asheville Police Department cut all ties with Plaintiff even though she was the victim of this crime as the
mother and only responsible and direct relative of the victim to avoid having to take statements that did
not fit their narrative of the crime, they changed the time table to fit their narrative, instead of allowing
the evidence to guide their findings, they guided the evidence.

Asheville Police Department violated Plaintiffs rights, and mishandled evidence to the detriment of the
case. They ignored facts and issues that did not fit their narrative, and refused to investigate people who
they felt where well connected and had higher social status.

Due to Asheville Police Department’s negligence there is evidence lost forever now, and evidence that
they have refused to investigate and/or deal with.

it is Plaintiffs intention that during this civil trial, the court clearly see that the odds of Plaintiffs child
having been murdered over drugs and not over the millions of dollars the enterprise was trying to steal
from her and the even more money they would have made once their goal was met, are mathematically
astronomical, and the fact that this was not investigated as a possible motive for the crime borderlines
on the criminal, but is clear evidence of negligence.

DSS & CHILD SUPPORT AGENCY

Kelly Marler a DSS employee assisted in the illegal removal of children from Plaintiff on two separate
occasions.

Kelly Marler violated HIPPA laws and Plaintiff's rights under those laws and did so by perjuring herself in
court trying to stain Plaintiffs name and assist coconspirator into taking her son out of her safe home to
help the enterprise further their agenda

Kelly Marler broke the law to take another child from Plaintiff, she slandered and libeled Plaintiff
through fraud and perjury in official documents for the purpose of hurting Plaintiff and taking revenge
against Plaintiff for having exposed her perjury to the court, and to further the enterprise’s agenda.

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Kelly Marler threatened the biological parents of the child Plaintiff was fostering while slandering her to
them to force them to abandon their child in NC, even though she had no jurisdiction over this child, and
be too scared to return the child, Elijah Davis, to Plaintiff.

Kelly Marler lied about the statements made by Plaintiff's son to keep the child from her, and left child
in a dangerous situation which she knew to be dangerous.

Kelly Marler committed contempt while assisting Sergio De Sousa to kidnap his son.

Kelly Marler is a for hire solder for this enterprise to hurt whistleblowers and/or targets of this
enterprise for the benefit of the enterprise and she should not be allowed near children at all.

Kelly Marler committed fraud in court documents

Kelly Marler knowingly and willingly put Plaintiff's child in harm’s way for the purpose of furthering the
enterprise’s agenda

Kelly Marler made Alijah Davis a ward of the state for the purpose of hurting Plaintiff, and slandering
Plaintiff's name and getting herself involved in yet a third investigation against Plaintiff's care of her
children, all which were dismissed and found to be without cause once Mrs. Marler was removed from
her case.

Kelly Marler is abusing her power, the position which she holds is to help families and children, but she
enjoys hurting people, she is on call to hurt anyone the enterprise asks her to hurt with no regard to the
law or to the families and children she is hurting.

Kelly Marler is being allowed to do this by her supervisor, and both need to be investigated and all the
families they have destroyed need to be reevaluated for cause.

Kelly Marler has used illegal tactics in her attempt to hurt Defendant, including but not limited to
coercion, intimidation, threats and slander.

Kelly Marler has stained Plaintiffs DSS record with her lies which are now being viewed as true just
because she has added them to Plaintiff’s DSS record.

Kelly Marler kidnapped a child from a tenant, Stormy Spicer, and threatened to permanently take her
child away unless she, Stormy Spicer, did things to hurt Plaintiff and help further the enterprise’s
agenda. (see Stormy Spicer’s statement of claim) Because she was doing this, she is also guilty by
extension of mail theft, embezzlement and property theft and damage, as well as kidnapping, fraud, and
all other allegations made against her and Mrs. Spicer which evidence will clearly prove as true.

DSS has been negligent in supervising these women and making sure that women with the power to
take children out of homes and destroy families are well vetted, well supervised and under some type of
control so they cannot abuse their power as this social worker has.

Additionally, child support agency has refused to give Plaintiff the child support owed to her by Sergio
De Sousa, also assisting, knowingly or unknowingly “the heads of the enterprise” to further their
agenda, against Plaintiff by violating her civil rights, and even against North Carolina Law. (See attached)
More evidence will be presented at trial, no matter how much Plaintiff tried to get her child support
even when Plaintiff contacted the state agency, she was informed that the DSS in Asheville is one of the

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most corrupt agencies in the country and that they do this as a way to attack those they are asked to
attack. If this is the case, and it has been the case for Plaintiff, then the federal government must be
called into action because this could be the most prejudicial agency in the country and if they can kidnap
children and hurt children to silence opponents then we have left a socially developed society and
entered a society without rights, where fear for our children keep those without power silent of the
atrocities being committed against them.

As evidence will show Kelly Marler’s abuse of power and total disregard for the law destroyed a family
and put children in danger and the saddest part is she got pleasure from doing it, as evidenced by her
laughing at Plaintiff when Plaintiff called her actions for what they were hurtful, evil and detrimental to
the care and wellbeing of the children, as well as, illegal.

There is nothing more prejudicial to justice than an agency such as DSS, whose responsibilities are the
protection of our children and who instead use their power to hurt the children of those seeking justice
for the purpose of silencing them or controlling their actions. This is child abuse, but it is also Human
trafficking for their own agendas and it is imperative that people like Kelly Marler and her supervisor,
and those in the child enforcement agency are investigated and those involved lose their jobs, are never
allowed into positions like these again, are fined and incarcerated as needed to protect those children
and all the families and children they took are reevaluated by outside forces, to make sure that good
cause was met.

MISSION HOSPITAL & MISSION MY CARE PLUS CANDLER

Two nurses working under Mission hospital and its subsidiaries have maliciously and purposely
committed malpractice against Plaintiff for the purpose of causing her to get sick, be in physical
pain, hoping to cause her to break the law and the practices patients rules out of desperation,
in a way that would assist the enterprise in furthering its agenda and reaching its goal of
removing Plaintiff from her land at any cause.

Plaintiff cannot give the name of the nurses because Mission has refused to give me their
names or their license numbers so Plaintiff can file an official complaint with the Board of
Nurses and other associations that oversee medical care and Hospital responsibilities.

NURSE ONE:

Nurse number one, working under the capacity of Mission My Care Plus, caused or made to be
caused problems with her medications, controlled substances, regulated by federal government
were withheld from Plaintiff, not renewed properly, were misprescibed on purpose at higher
dosages and then cut off abruptly in an attempt to cause Plaintiff physical pain, cause problems
between Plaintiff and her doctor, who she had been seeing without a problem for almost three
years by then.

Nurse one was doing this to cause Plaintiff to be short on her medications forcing her into
unnecessary physical withdrawals, the inability to work due to pain, in hopes that in her

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desperation she would lose the control over her medications and feel forced to go outside her
doctor’s office to get the medications and resort to other controlled substances that could and
would ruin her life and give them an opportunity to dismiss her from the practice, leaving her
with no doctor and no medicines for her chronic illness, which is severe and very painful.

Plaintiff's doctor at Mission My Care Plus had to begin to inform Plaintiff of when she planned
on going on vacations, so she could leave Plaintiff's medications taken cared for while she was
gone so that they could not withhold care and medicines from Plaintiff, or force Plaintiff to see
another practitioner in the practice and have them dismiss Plaintiff from the practice behind
her doctor’s back.

This abuse of power, and malicious malpractice and violations of Plaintiff’s rights went on for
almost an entire year and are well documented

NURSE TWO:

Nurse number two was a nurse at the NICU at Mission Hospital who reported abuse of Elijah
Davis for the purpose of kidnapping a second child from Plaintiff with the help of DSS worker
Kelly Marler for the third time being used against Plaintiff, to hurt Plaintiff, and stain her name
and reputation, while gaining money from the state themselves for taking another child, even
though they did so, illegally, through lies and corruption as described under the statement of
claim for Kelly Marler

This nurse illegally made a report of abuse against ALL the doctors’ findings, which stated that
no signs of abuse were present, and even though her license does not allow her to do that, this
nurse reported false allegations of abuse while Plaintiff was in the hospital to help DSS worker
Kelly Marler to once again hurt Plaintiff by abusing her power for the benefit of the enterprise.

MISSION LAB:

Additionally, someone at Mission violated HIPPA laws by disclosing HIPPA protected lab results
to DSS worker Kelly Marler, who then in turn perjured herself to use this protected information
against Plaintiff in court and to make it part of her DSS record for the purpose of preventing
Plaintiff from being able to help children, and foster Elijah Davis and to cause Plaintiff to lose
her son to his father, once again in an attempt to force Plaintiff to go fight for her son in Florida
and help the enterprise to achieve its goal of taking Plaintiff's property in the process.

MISSION HOSPITAL DOCTOR:

Additionally, the only doctor who was willing to misdiagnose Plaintiff with a mental illness,
effectively destroying her life, trying to lock her up for two weeks while “the heads of the
enterprise” took her property from her, while they try and force unnecessary medications on
Plaintiff that would have caused her to get seriously sick, was also from Mission hospital. This is
an unspecified defendant for now, and will be added as needed, but this doctor went beyond
malpractice into what Plaintiff would consider attempted murder and malicious negligence.

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Plaintiff could have had a very bad reaction, had she been forced to take unnecessary
psychotropic medications, medications that have in the past caused Plaintiff to have very bad
reactions to, due to the fact that she has no mental illness, that she does not need those
medications and that she has a severe chronic illness that could have had a severe reaction to
those medications.

This is further evidence of the amount of power, money and connections these “heads of the
enterprise” have, and how invested they were in getting Plaintiff's property back. This is also further
evidence that with all the enterprise was doing against Plaintiff from every direction, that her child’s
murder was also connected to this.

MCINTOSH LAW FIRM

This Jaw firm took out a lawsuit against Plaintiff, which had been dismissed voluntarily by them through
a South Carolina district judge with prejudice in 2012, and filed it against Plaintiff again in 2016, at the
request of one of the enterprise conspirators and for the purpose of neglectfully assisting the enterprise
to further its agenda and accomplish their goals of bankrupting me by preventing me from being able to
take out loans due to this judgement which was brought against me through malpractice.

This was done to further the misdirect towards some large conspiracy of lawyers, that when Plaintiff
began to claim it as such, would help the conspirators of the enterprise say she was delusional and
crazy.

This is further evidence of the amount of power, money and connections these “heads of the
enterprise” have, and how invested they were in getting Plaintiff's property back. Under these
circumstances anyone would have thought the same as Plaintiff when her child was murdered.

Please see attached South Carolina order from 2012 and attached North Carolina order in 2016. Request
of Certified files pending arrival,

it is Plaintiff's intention that when the court see that, so many attorneys were manipulated by this
enterprise, due to their power and social status, and that these attorney’s lack of ethics and
professionalism used against Plaintiff, that the court also realize that the North Carolina State Bar is not
doing their job correctly and since they no longer answer to anyone, because they have become a non-
profit organization, that these lawyers and the NCSB, lack the oversight needed. According to NCSB, they
lack the power and ability to investigate these complaints and follow up on all that is being done, and
they don’t answer to anyone, so that no one is policing lawyers, and making sure they follow their ethics
laws. Plaintiff hopes that the court agree that it is necessary for the NCSB to answer to someone other
than themselves, and like all other organizations they need to be part of the checks and balances that
are the backbone of our country, by not being a non-profit organization and instead becoming a state
agency answering to a federal agency as it should be and was in the past.

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Had the Plaintiff been able to get an investigation by NCSB of all these attorneys actions, the NCSB could
have uncovered the enterprise long before Plaintiff did, and her child’s murder may have been
prevented.

STORMY SPICER

Miss. Spicer was Plaintiff's tenant, who according to Mrs. Spicer, Kelly Marler of DSS was refusing to
allow her access to her daughter unless she helped to hurt Plaintiff, after she was caught driving under
the influence from her home to her mother’s home inside Plaintiff's property.

“The heads of the enterprise” then promised Mrs. Spicer that once she helped to bankrupt Plaintiff they
would let her have her child back, and let her own the trailer she was renting from Plaintiff.

Stormy Spicer and her boyfriend stole thousands of dollars from Plaintiff's bank through the purchase of
unnecessary materials and stole materials as well after Plaintiff's daughter had been murdered and
unbeknownst to the enterprise and even to Plaintiff, the child still had an active life insurance policy
which prevented Plaintiff from becoming bankrupted by her child’s murder and Sergio De Sousa’s
embezzlement. Now, knowing that Plaintiff had received this money, and that this money was
preventing “the heads of the enterprise” from achieving their goal, they used and manipulated this
tenant to steal that money from her account.

Stormy Spicer’s boyfriend connects back to Laramie Collins and Rebecca Martin by last name and
relation.

Stormy Spicer also stole Plaintiff's mail for a few months while Sergio De Sousa’s attorney mailed
Plaintiff's court notices, subpoenas ext., to the mailbox instead to her post office box. This was so
Plaintiff would not be prepared for court, and would not get subpoenas and court documents and
prepare a defense against their attacks, and once again to make it seem like attorneys were purposely
working against Plaintiff and that DSS and police were all also involved, when all “the heads of the
enterprise” needed was to have ONE person in each agency to make it seem like that. They were hoping
that this would intimidate Plaintiff away from the fight for her property, and if Plaintiff continued to
fight, she would sound delusional when she pointed her finger at such a huge conspiracy against her,
but as evidence will show the enterprise was not made up of a huge conspiracy of people and agencies
as they made it seem, but better yet used a handful of people to make it look that way.

Stormy Spicer did in fact, months later, return the mail to Plaintiff.

LOU VEGA

Lou Vega was part of the enterprise, and was aware of the enterprise and its agenda. Lou Vega working
with others associated with him, unspecified defendants at this time, and Sergio De Sousa attempted to
set Plaintiff up to relapse and do drugs, even though Plaintiff had at that time 12 years sober. The only
way they could have known about Plaintiff's past was through Plaintiff's own then husband, Sergio De

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Sousa. When they could not force Plaintiff to relapse and throw her life away, they then set it up to
make it appear as if she did anyways, so that Sabrina Diz could then kidnap Plaintiff's son.

Lou Vega left thousands of dollars in damage that was purposely done by him to attempt at causing
Plaintiff trouble with paying either mortgage or taxes.

Lou Vega’s girlfriend set up Plaintiff's Go Fund account during the disappearing of Plaintiffs daughter,
for the purpose of being able to later access it and close it down.

Lou Vega sent in someone that he referred to Plaintiff, as someone who could help Plaintiff in her farm,
during the disappearance of her daughter, for the soul purpose of interjecting someone into Plaintiff's
life and property that could inform him and therefore the enterprise of Plaintiff's actions, continue to
feed Plaintiff misinformation about who was behind all that was happening to Plaintiff and help to
kidnap Plaintiff's son, while furthering the agenda of the enterprise by destroy her farm and killing her
animals.

Lou Vega was working with “the heads of the enterprise”, and co-conspirators Sabrina Diz and Sergio De
Sousa.

The evidence against Lou Vega and unspecified associates will show that he was a co-conspirator of the
enterprise, and played a major role in the enterprise’ agenda and activities, including but not limited to
Fraud, information gathering and dispersing, conspiracy to kidnap a child, conspiracy to commit murder
by trying to get Plaintiff involved in drugs, property damage, libel and slander and obstruction of justice.

SABRINA DIZ

Please see attached affidavit by Plaintiff for details about this part of the statement of claim
detailing Sabrina Diz’s involvement and actions for the enterprise.

Sabrina Diz working as a conspirator of the enterprise committed perjury to false imprison
Plaintiff in a hospital for the purpose of kidnapping her son for the other conspirator Sergio De
Sousa

Sabrina Diz destroyed evidence Plaintiff had against The Regeneration Station and Sergio De
Sousa during the kidnapping of Plaintiff's son.

Sabrina Diz maliciously abused the civil process to further the enterprise’s agenda

Sabrina Diz conspired to kidnap Plaintiff's child

Sabrina Diz conspired to set up Plaintiff

Sabrina Diz conspired in the attempt to steal the property from Plaintiff worth over 2.5 million
Sabrina Diz endangered the life of a minor

Sabrina Diz committed a breaking and entering act, to access Plaintiffs child

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Sabrina Diz assaulted Plaintiffs mother for the purpose of removing the child from her care
Sabrina Diz made false reports to DSS
Sabrina Diz committed fraud

Sabrina Diz libeled and slandered Plaintiff for the purpose of advancing the agenda of the
enterprise and mislead the investigation into her daughter’s murder

Sabrina Diz obstructed justice by slandering Plaintiff to the detectives charged with investigating
her daughter’s crime

Sabrina Diz took belongings from Plaintiffs house and Plaintiff's daughter’s house that did not
belong to her

Sabrina Diz cyberstalked Plaintiff and is still cyberstalking Plaintiff and assisting the enterprise
with information from Plaintiff's Facebook site by taking a false identity to do so.

Sabrina Diz was assisted by a conspirator Adam Bull on how to file charges with no evidence
and false reports and through perjury

Sabrina Diz assisted in the fraud perpetrated to Go Fund to close the Go Fund account I had
taken out for a better investigation into Plaintiff's daughter’s murder to help the enterprise
prevent Plaintiff from acquiring any funds while they attempted to bankrupt her.

Sabrina Diz committed an additional fraud against Go Fund, when she took out a second Go
Fund account herself through lies and libel of Plaintiff claiming to need money for one thing,
when she was in fact getting money to travel back into North Carolina to take out fraudulent
charges against Plaintiff.

Sabrina Diz committed fraud by accessing Plaintiff's online banking, her Facebook account and
her mail from her post office box while she had Plaintiff falsely incarcerated.

Evidence will show a pattern of behavior by Sabrina Diz against Plaintiff for the purpose of
ruining Plaintiff's life.

Evidence will show that on the day Plaintiff was released from jail in 2004, Sabrina Diz made a
false report attempting to have Plaintiff reincarcerated by violating her parole, police refused to
arrest Plaintiff because they saw that Sabrina Diz was lying and were able to see what she was
trying to do.

Evidence will show that Sabrina Diz attempted to incarcerate Plaintiff again, on the day Plaintiff
was leaving the state of Florida with her family for the state of Maryland, this time calling police
with a false report to the Plaintiff's address, attempting to make her violate her parole by getting
arrested through Sabrina Diz’s false allegations and police again refused to arrest Plaintiff and
instead removed Sabrina Diz from Plaintiffs property.

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While Plaintiff was incarcerated Sabrina Diz had temporary guardianship of both Plaintiff s
daughters and she was trying to get rid of the now deceased child, but because then she would
have had to send both children to New York because Plaintiff refused to separate them, and this
would prevent Sabrina Diz from being able to do her taxes claiming both girls, she did not do
this. Plaintiff was in jail for only 7 months, not all in one year but separated within two separate
fiscal years although consecutively, but Sabrina Diz lied and claimed the children for the whole
year of 2003 because Plaintiff was unable to fight this from jail.

These patterns of behaviors where Sabrina Diz greatly disliked Tatianna Diz, the Plaintiff's now
deceased daughter, and the reason for which Sabrina Diz had to obstruct justice during the
investigation into her murder, will give probable cause for an investigation into the involvement
of Sabrina Diz in the murder of Tatianna Diz and subsequent cover up and obstruction of justice
into her murder investigation.

Additionally, Sabrina Diz was trying to convince Tatianna Diz that her mother hated her, but
after only living with her for two months threw her out on the streets of Miami, and it made
Sabrina Diz blind with anger that she then called the Plaintiff for help and cut off her aunt
Sabrina Diz from her life. Plaintiff had sent Tatianna Diz then 8 months shy of her 18" birthday,
to stay with her aunt trying to prevent her daughter from being out on the street before she was a
legal adult, and Sabrina Diz had agreed to take care of her until she turned 18, and she had
agreed that if she was unable to do so, she would return the minor child to Plaintiff her mother.
Not only did Sabrina Diz violate this agreement by throwing Plaintiff's minor child on the street,
but she didn’t tell Plaintiff her daughter was living on the streets. Plaintiff only found out that her
minor child had been on the streets, when her child called Plaintiff and told her asking Plaintiff
to come back home. This greatly angered Sabrina Diz, who was hoping she had severed the
relationship between Plaintiff and her daughter permanently.

Evidence will show that when Sergio De Sousa almost killed Plaintiff by beating her up, during a
domestic violence assault, in Maryland, it was the home of Sabrina Diz that he moved into, and it
was then that their on and off affair began, mainly out of hate by Sabrina Diz to Plaintiff, which
will be very well documented during the trial, and because Sabrina Diz will do anything to hurt
Plaintiff, including hurt a niece that had seen her for what she really was, and would not do as
she wanted and leave her mother, Sabrina Diz would gladly help further the agenda of the
enterprise, if only for the soul purpose of hurting Plaintiff out of hate.

Sabrina Diz committed fraud on court documents.

Sabrina Diz was maliciously and purposely defaming Plaintiff's character for the purpose of
obstructing the investigation, covering for the enterprise and helping the enterprise steal
Plaintiff's property and to finally accomplish her desire of destroying Plaintiff s life.

Sabrina Diz allowed an unspecified defendant to misrepresent himself to media and police as
Plaintiff's daughter’s stepfather for the purpose of advancing the enterprise’s objectives

For more details of all of the actions taken by Sabrina Diz during the violation that can best be
described by Title 18 Racketeering and RICO chapters, please see attached affidavit.

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There are unspecified defendants that were involved in the kidnapping with Sabrina Diz, but it
was only her that had it planned ahead of time with Sergio De Sousa and other enterprise
conspirators.

GENERAL SUMMARY

Rebecca Martin sold Plaintiff a property for a lot less than it was worth to scam her out of close to a
quarter of a million dollars while she waited for Francis and Jeff Tacy to finish defrauding the USDA for
the government funds they were stealing to purchase their adjoining 18 acres.

Francis and Jeff Tacy were buying their side with the expectation of buying up all the land between them
and Plaintiff including Plaintiff's land and becoming a luxury wedding resort, they never planned on
becoming sheep farmers as was the reason they were first getting the USDA loan.

Rebecca Martin through her connections in this town and her social status and the tenants who had
known her for years in the park being purchased by Plaintiff, which was a drug haven while under the
ownership of Becky Martin, was ready to begin lawsuits and bankrupt Plaintiff as soon as Francis and
Jeff Tacy were ready.

Rebecca Martin manipulating both Pisgah legal services and Plaintiff by conspiring with Plaintiff's then
husband Sergio De Sousa began lawsuits and began to create a battle between Plaintiffs and the
lawyers, using the inside knowledge Sergio De Desousa was giving her to make it look like Plaintiff's
lawyers were breaching confidentiality laws and then turning around and feeding the tenants the
information they needed to make it seem to the lawyers like Plaintiff was a slum landlord and make
them want to defend their clients beyond what was acceptable by ethics, especially when it seemed to
them, that Plaintiff was accusing them of doing things they were not doing, even though from Plaintiff's
side it looked like it was them, from their side it looked like it was Plaintiff.

Plaintiff's husband Sergio De Sousa was working very hard to also feed this lie while Plaintiff still trusted
him and did not know yet he was involved in the enterprise or that this enterprise existed at all or the
purpose of the enterprise yet. Plaintiff was still unaware of the value of her property yet.

Rebecca Martin was Plaintiff’s mentor in this venture, and Plaintiff trusted her and her own husband
completely at this time, and they used and manipulated this trust to the fullest to feed Plaintiff
misinformation and make her believe that she was up against an organized criminal enterprise of
lawyers.

Because Plaintiff was following every law and doing everything right, she made sure to bring the park up
to code right away. This confounded with the fact that Plaintiff treated everyone with respect and was
helping people, soon it was impossible for Rebecca Martin, Francis and Jeff Tacy to bankrupt Plaintiff
even with the inside help of Sergio De Sousa, who was attempting at making Plaintiff look bad to her
tenants and others, Plaintiff’s actions began to show people that they were being fed erroneous
information about Plaintiff.

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Once Plaintiff received the settlement that she had been working on for an injury at her husband’s
employer’s they had to resort to more personal tactics of attacks, especially since Sergio De Sousa owed
that money to Plaintiff and he did not want to have to give it to her.

Plaintiff and Sergio De Sousa received the $105,000 in March and Sergio De Sousa had embezzled it all
out of her bank accounts by June 2015, in three months, while Laramie Collins at the guidance of
Rebecca Martin and with the help of Sergio De Sousa kept Plaintiff so busy through court that she could
not notice right away.

Once Plaintiff realized what Sergio De Sousa was doing, she threw her husband out even though he
begged to stay. This money is still missing, and it is part of the evidence of embezzlement that Plaintiff
will show in this case.

Since Sergio De Sousa was involved with these people killing Plaintiff was not an option because he
would have gotten investigated for that murder and it would have led police right back to “the heads of
the enterprise”, so using the information only Sergio De Sousa had about Plaintiff and her family and the
fact that Plaintiff had a trouble past with addiction they realized they had to go another way. Since
taking all of Plaintiff's money out of her bank account, destroying all her equipment, stealing the work
truck and leaving her with no help with the help of her then husband Sergio De Sousa did not work, and
they no longer had anyone they could file lawsuits against Plaintiff with, they planned on kidnapping
Plaintiff's son and having his father take him to Florida to force Plaintiff to go fight for him over there.

Sergio De Sousa decided to accept the settlement in January of 2015, we received the settlement in
March of 2015, evidence shows he contacted Adam Bull in February of 2015 and by June of 2015 Sergio
De Sousa had embezzled all the money out of Plaintiffs business accounts, at which point Plaintiff threw
Sergio out of her house in mid-June, he was told to leave for Florida in July and he expected to come get
Plaintiff's son out of school in September and take off with him to Florida.

This is when Adam Bull comes into the picture in February of 2015 to guide Sergio on how to embezzle
the money and destroy Plaintiff's business and kidnap his son legally, this is why they needed to add a
fraudulent dismissal of the still active custody order in Maryland.

It is clear when speaking to the child that while spending time with his father, Plaintiff's child must have
overheard something about their plans to kidnap him, and he was terrified that his father was going to
kidnap him, but because Sergio had left Plaintiff with no money and she was barely making her bills, and
could not afford to pay for private school any more, compounded with her child’s fear, Plaintiff decided
to homeschool her child.

When they saw that there would be no way to reach Plaintiff's son the way they had planned once
school started in mid-September and they saw that child would not be attending school, that the
lawsuits for two years did not work, that taking all of Plaintiffs money did not work to get her to forfeit
on her mortgage or her taxes, and that Plaintiff found a way to continue to run the business alone and
without tools or materials, on October 27" Plaintiff's daughter went missing and opened up the
opportunity for Sergio De Sousa to get Plaintiff's sister in the area and with the help of Lou Vega make it
look like Plaintiff was crazy and on drugs so they could take the child anyways and cause another
opportunity to break Plaintiff and force her to forfeit on her mortgage or taxes again.

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As evidence will clearly show, Plaintiff's daughter’s murder was the culmination of everything the
enterprise had been working towards for months. Making Plaintiff think lawyers were behind her
daughter’s murder to make her sound crazy, setting her up to look unstable, violent and on drugs by her
sister to obstruct the investigation and lock Plaintiff up while causing more property damage and
kidnapping her son, trying to force her into bankruptcy or to relapse and give up. In fact, when none of
these tactics worked either, and Plaintiff had navigated it all clean, and gotten her son back, and still
paid her mortgage and taxes because of her daughter’s life insurance policy, Mr. Tacy was so upset by
this that he tried to run Plaintiff off the road with his car with a witness in the car with her, and then
Mrs. Tacy began to lie and take out charges against Plaintiff herself too, attempting to continue to use
the court to hurt Plaintiff. .

As had been pre-agreed as soon as Sabrina Diz arrived, working with Lou Vega on the pre-agreement
between him and Sergio, they began to set Plaintiff up for the kidnapping of her son. The first attempt at
this was by trying to get Plaintiff into a physical altercation on 11/1/2015 at which time they planned on
calling the police on her and having her arrested, except Plaintiff was so focused on finding her
daughter, she just walked away from them. The second attempt was done by calling in a false report on
11/2/15, at which time Sheriffs were sent out with a social worker on call, they found Plaintiff to be safe
and not on drugs, and labeled the report as a false report. The third and last attempt was then put into
action by having Sabrina Diz take out an IVC under perjury at the courthouse, to have Plaintiff removed
from the house under order of the court, hoping that the social worker they had on stand by this time
would just be given Plaintiff's son when Sheriffs came to get her for said IVC and the child was left alone
in the house, but since Plaintiff's mother arrived to Plaintiffs house just in time, Sheriffs left her son
with Plaintiff's mother instead. This forced Sabrina Diz to have to find yet another way to kidnap the
child, so Sabrina Diz accompanied by other unspecified defendants, at this time had to break into
Plaintiff's home and had to assault Plaintiff’s mother to forcibly remove Plaintiffs child from the care of
Plaintiff's mother and out of Plaintiff's home. At this time, Sabrina Diz attempted to have Plaintiff's
mother arrested as well by calling in another false report on her. When Sabrina Diz realized that
Plaintiff's mother was not going to get arrested, she had to take Plaintiff’s son to a hotel room and hide
there until Sergio De Sousa came into town to take him away against a court order. This was all done
with the help of the social worker they had in place to help to do this.

Once Plaintiff was evaluated and released because there was no mental illness or drug abuse, and
Plaintiff did not own any weapons and it was clear that there was nothing wrong with her other than
grief for her now deceased daughter, they had already removed Plaintiffs child from the state and were
hiding him from her. This is when they began attempting to get Plaintiff to go file for custody in Florida.
Except Plaintiff knew she had an active custody order case in Maryland, this is when Plaintiff becomes
aware of the fraudulent dismissal that was added to her Maryland file to try and prevent her from being
able to have the NC court order her child returned to her. When Plaintiff speaks to Maryland and they
realize what has happened they remove the fraudulent dismissal from the file and tell Plaintiff that her
custody and child support order are very much active still. Plaintiff has those documents to show the
fraudulent judge’s signature, and the fraudulent stamp trying to make it look like it was filed back in
March of 2010, also done to erase the debt owed by Sergio De Sousa for child support there. Plaintiff
also finds a copy of the fraudulent dismissal amongst documents that Sergio De Sousa leaves behind at
the house, that he had this fraudulent document prior to leaving, which is without a stamp and could

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only have been given to him by Adam Bull while they planned the kidnapping prior to him receiving the
settlement money.

' At this point it had been two years since they had been trying to bankrupt Plaintiff, please see timeline
attached for a chronological list of events.

The attacks continued for two more years after Plaintiff's daughter's murder and subsequent son’s
kidnapping, as they paid for Sergio De Sousa’s attorney to try and bankrupt Plaintiff through family
court, buy time to keep stealing money and continue to cause property damage, and to use the divorce
to take Plaintiff's property and/or child.

When Francis and Jeff Tacy saw that nothing they had done had worked to get them the property they
began to attack Plaintiff directly themselves through abuse of legal process, threats, trying to run
Plaintiff off the road, theft, violence ext.

Using the same DSS worker they used to kidnap Plaintiff's son, Kelly Marler, they tried once again to
take Plaintiff’s son during the family court case, by using Kelly Marler to testify in court while lying under
oath against Plaintiff to attempt to make her look bad to the judge and manipulate the judge into
ordering the child sent to live with his father. The enterprise later used this same DSS worker again to
take yet another child from Plaintiff, and to stain her DSS record, and try once again to have her remove
her biological son from her care, all to cause Plaintiff emotional pain to the point that she would not be
able to function and keep her business afloat, but also still trying to make it seem to Plaintiff as if she
was up against some huge conspiracy against her, except by now, Plaintiff had begun to realize what
was going on, that her property was actually worth millions, and that they were using the same people
against her over and over and so it was not all these agencies were corrupted, and lawyers against her,
but that there was a handful of people working very hard to make it look that way to her.

Using Lou Vega, again around tax time, they caused property damage of close to $10,000 killing animals
and destroying other ways in which Plaintiff made income, poisoning her AKC puppies so she could not

sell them ext., to try and force her to forfeit on her mortgage and/or taxes, this did not work either and
somehow, Plaintiff continued to successfully run her business and pay her bills.

This is why Plaintiff has brought this suit to Federal Court where Plaintiff can clearly show through
evidence the whole picture of what has been done to her by this enterprise working together for their
own individual benefits but for the ultimate goal of the enterprise to acquire her property.

As you can see the property was put on the market for $2.5million dollars. Plaintiff has recently lowered
the acreage to only 8 out of 21.73 ac for a total value of $1.7million while keeping 12.73ac, immediately
Rebecca Martin began attempting to foreclose on Plaintiff for paying a few days late per month, even
though all Plaintiff owes her now is around $540,000.

This is a very short statement of fact, the affidavits and evidence will show that this was a constant
attack for over four years, that was so painful to endure Plaintiff can only imagine there were angels at
her every turn, and that there IS a God protecting her from these evil and greedy people. This conspiracy
against Plaintiff has been so complex, so evil and injurious that Plaintiff believes that there is plenty of
reason to believe that her child’s murder had something to do with everything else they had been doing
to her and continued to do to her afterwards, even up to present time. Plaintiff deserve justice.
Plaintiffs daughter deserves a better investigation into her murder, and Plaintiffs child deserves real

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justice and for the real murderers to pay for their crimes. Plaintiff's son deserves justice for what his
father and aunt and DSS worker, helped the enterprise do to him for their own benefit and gain without
regards to his safety or to his mental health as he grows up. He also deserves to be protected from
further injury by his father.

Through all the tactics listed throughout this Statement of Claim, that Plaintiff plans to clearly prove
through evidence and testimony at the trial, the members of the enterprise have caused an actual
monetary loss of over $250,000 from me in the last four years, this money would have quadrupled
Plaintiff's income by itself had she been able to invest it into her property and the dream that she was
trying to build. The actual amount of losses is immeasurable due to the fact that by quadrupling
Plaintiff's income, there would have been more money to invest and more money would have been
made from that. Also, the immense amount of work that Plaintiff has had to put into defending herself
from lawsuits, into rebuilding all the damages caused, into having to search for help and study laws to
be able to defend herself, all those hours that were taken from Plaintiff's business and her personal
dream she was trying build to help a lot of people are immeasurable as well. The stress, the pain and the
lack of peace and stability caused by this enterprise is also immeasurable. The fact that Plaintiff has had
to live struggling alone with her son, when in fact she should have been in a comfortable social status is
additionally immeasurable. The fact that this has divided and broken up her family, that her daughter is
gone, that her other daughter was forced to betray her mother out of fear, and Plaintiff could not be
there for her grandchild’s birth, while her child is surrounded by people who have hurt her, her sister,
brother, grandmother and mother and she is too scared to accept it, all over a piece of land, over
money, is beyond evil, and Plaintiff hopes that the court agrees that these people not only have to pay a
monetary consequence, but Plaintiff hopes that the court also agrees that a better investigation into
their actions needs to take place so that criminal charges can be taken out against them and they can
pay more appropriate consequences for their criminal activity as well.

Since there were many conspirators, even though the main enterprise was not comprised of everyone
who assisted them, Plaintiff has broken up the Statements of claim into parts for each.

There are unspecified defendants at this time, and Plaintiff reserves the right to add and amend
defendants later as needed.

IV. RELIEF

Plaintiff respectfully requests that FBI join me in this matter, and open an investigation into this
enterprise and the murder of one of my children and kidnapping of my son.

Plaintiff respectfully request the court grant a monetary relief from all defendants collectively
for punitive damages, pain and suffering and amount of time spent working on these

unnecessary and uncalled for defenses during the malicious abuse of civil process perpetrated
by head of enterprise Rebecca Martin and her codefendants for the past four and a half years.

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Plaintiff would humbly request that Your Honor order mortgage payments to be paid to the
courthouse until all these matters are resolved.

Plaintiff requests that Your Honor order that all the money that was taken through fraud, and
abusive and predatory tactics be returned with interest.

That the courts order a cease and desist of all related activities against Plaintiff and order a full
investigation of Rebecca Martin, and Mr. and Mrs. Tacy’s financial transactions, lending
practices, real estate withholdings and loan applications, and freeze any and all abusive and
predatory transactions immediately and that they be ordered to pay back any and all moneys
acquired through these illegal activities.

That those who are proven to be abusing their positions of power or trust such as the DSS
worker Kelly Marler and supervisor at the child support agency, as well as the nurses at
Mission, be removed from those positions, and if applicable their licensing for performing those
positions be removed, revoked and their employment terminated for the protection of the
public.

Plaintiff humble requests that a criminal investigation against Rebecca martin, Francis Tacy, Jeff
Tacy, Sergio De Sousa and Sabrina Diz be opened to ascertain whether the murder of Plaintiff's
daughter was connected to their activities of Racketeering and RICO, and the massive amount
of money they were losing at their failed scam against Plaintiff, and their failed conspiracy
against her which must have also cost them money.

Plaintiff requests that Your Honor agree that “the heads of the enterprise should be collectively
found to be responsible for all the actions of the conspirators because it was to their benefit,
and because of them that this occurred at all, and that this enterprise was created therefore
becoming guilty of all crimes committed by the codefendants by extension.

Due to the fact that there have been three attempts at Plaintiff's life that she can prove in
court, Plaintiff requests that your honor accept her request for a proxy, so if something were to
happen to Plaintiff, that one of the listed proxies could continue this case without Plaintiff but
for the benefit of her children and justice.

Plaintiff also request that the proxies’ names be sealed until they are needed if it ever where to
get to that point, and that if Plaintiff's life or freedom is taken from her and a proxy is needed
that Your Honor immediately order an investigation into the facts surrounding said loss of life
or liberty.

Plaintiff respectfully asks that if anything happens to Plaintiff, that Your Honor assign an
attorney to one of my proxies as outlined in my sealed Motion attached with this complaint,
and immediately order an investigation into the heads of the enterprise and main conspirators
while continuing this case against them.

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Plaintiff also request that your honor put forth an interlocutory order to Asheville Police
Department, Mission Hospital and Buncombe County Courthouse to cease and desist any
abusive or neglectful activities against Plaintiff, and that any violation of Plaintiff's rights will be
fully investigated if they occur in retribution to Plaintiff's filing of this case.

Plaintiff respectfully requests that Your Honor order that Mission must maintain their
responsibilities towards Plaintiff as their patient, and avoid maliciously messing with Plaintiff's
medications, or withholding medical care from Plaintiff; letting Buncombe County Courthouse
know that they should carefully review any claims against Plaintiff prior to neglectfully moving
forwards against Plaintiff, especially if those claims are by any of the named members of the
enterprise, or cease and desist accepting claims against Plaintiff by any of the members of the
enterprise.

Plaintiff respectfully requests that DSS clean her record of any and all lies added by Kelly Marler
and amend said record to be a better reflection of the truth.

Plaintiff respectfully request that Your Honor order DSS to come clean to Elijah Davis’ biological
parents and return Elijah Davis to Plaintiff as was the desire of his biological parents for Plaintiff
to raise Elijah Davis as her own.

Plaintiff respectfully requests that Your Honor order an Federal oversight agency for the North
Carolina State Bar, and an easier process for complaints against attorneys.

Plaintiff also requests that attorney McElroy pay restitution and relief for the money he caused
Plaintiff to lose the day of settlement.

Plaintiff also requests that the Mcintosh law firm, fix Plaintiff’s records, and erase any and all
traced of the judgement they acquired against Plaintiff illegally, to fix her credit and any other
issues they caused with said judgement and pay restitution for said judgement against Plaintiff
and relief for punitive damages caused by this judgement.

Plaintiff requests that all costs of the IVC through Mission My Care Plus be transferred into
Sabrina Diz’s name and for Your Honor to make her responsible for the costs of this forced
hospitalization, as well as other relief the court feels just in this case.

Plaintiff respectfully requests that Your Honor Order Mission to release the names, and/or the
license numbers of the nurses responsible for the violation of Plaintiff's rights and the
malpractice perpetrated against Plaintiff by these nurses.

Plaintiff respectfully requests that an investigation be ordered into the activities by this DSS
worker Kelly Marler, and all other consequences necessary for the protection of the public, to
include but not limited to the loss of her position, a further investigation into other families
whose children she had removed, and her connection to the members of the enterprise, as well
as any and all other consequences and relief the court deems to be just and fair in this case.

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Plaintiff respectfully requests that Your Honor find Adam Bull at least guilty of malpractice and
order he pay relief for his actions against Plaintiff, and that Your Honor order FBI to do a deeper
investigation into his ethical and legal violations against his own clients.

Plaintiff respectfully requests that Your Honor grant Plaintiff the relief available to her against
Sergio De Sousa under Title 18 chapter 7 section 117 for willfully and maliciously violating the
child support order for more than a year, for violating the court order and kidnapping his son

and any other relief that the court finds to be appropriate and fair in this case.

Plaintiff respectfully requests that Your Honor order The Regeneration Station pay not only
restitution for the stolen wood, but also restitution for all other costs Plaintiff had to pay due to
their breach of contract and punitive damages for the hours of work Plaintiff had to put in due
to their actions, the stress and physical labor involved in the repair of their damages and the
material lost.

Any and all other relief the court’s feel is fair and just in the eyes of the law.

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

 

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case. :

Date of signing: ll / 27 / 20,7

Signature of Plaintiff —FrZz—A—.
Printed Name of Plaintiff —~ Pony Sula “Dia

 

B. For Attorneys

Date of signing:

 

- Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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‘ Page 5 of 5

 
